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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------- X
                                         :
 DAVID ZIGLER,                           :
                                         :
                          Plaintiff,     :
                                         :               20cv2462 (DLC)
                -v-                      :
                                         :                    ORDER
 FEATHERSTONE FOODS, INC., CARAWAY       :
 REALTY, LLC, SESAME DISTRIBUTION, INC., :
 JOEL SCHOENFELD, KUZARI GROUP, LP, and :
 MARK RIMER,                             :
                          Defendants.    :
                                         :
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DENISE COTE, District Judge:

     An Order of September 4, 2020, allowed Peter Ripin, Esq.,

counsel for defendants Kuzari Group, LP and Mark Rimer, to

withdraw from this case, effective September 18.            On September

11, Neil Postrygacz, Esq. filed a notice of appearance on behalf

of these two defendants and sought the vacatur of the September

4 Order.     On September 14, Mr. Ripin filed a letter in reply.

Both defendants now being represented by Mr. Postrygacz, it is

hereby
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     ORDERED that Mr. Postrygacz’s request, seeking the vacatur

of the September 4 Order, is denied.

Dated:       New York, New York
             September 15, 2020


                                    __________________________________
                                              DENISE COTE
                                      United States District Judge




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